Case 1:19-cr-00013-SPB Document 20 Filed 09/27/19 Page 1of4

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA )
)
Vs. ) SENTENCING MEMORANDUM
)
) Docket No.: 0315 1:10CRO00013-SPB
JAMES FREDERICK FRANKS, )
)

Defendant

AND NOW, comes the above-named defendant, James Frederick Franks, by his
attorneys, CONNER RILEY FRIEDMAN & WEICHLER, and respectfully files the following
Sentencing Memorandum:

I. Procedural History

On June 25, 2019, the defendant entered a plea to obtaining a controlled substance
through fraud in violation of 21 U.S.C. §§ 843(a)(3) and (d)(1). The U.S. Probation Office
prepared a Presentence Investigation Report which was finalized on September 4, 2019. The
defendant is scheduled for sentencing before this Honorable Court on October 15, 2019.

I. Sentencing Consideration

Mr. Franks is 34 years of age. He was born and raised in Altoona, Pennsylvania. In
2009, he graduated from Duquesne University with a doctorate degree in pharmacy.

The defendant was married to his wife, Lindsay, on September 18, 2010. They have
three children: Ezekiel (age 7), Abel (age 5), and Ada (age six months). Lindsay is also a
pharmacist.

In May, 2016, the defendant was employed as the chief pharmacist at the Soldiers and
Sailors Home in Erie. He began diverting medications for his own use. In July, 2017, he

contacted S.A.R.P.H. and began his long and difficult road to sobriety.
Case 1:19-cr-00013-SPB Document 20 Filed 09/27/19 Page 2 of 4

The defendant has a lengthy history of substance abuse. He participated in outpatient
substance abuse treatment at Gateway from 2007 to 2010. He was also diagnosed with anxiety
and major depression.

The defendant’s life has changed dramatically since the current investigation began. As
indicated, on July 14, 2017, he contacted S.A.R.P.H. who referred him to Glenbeigh Treatment
Center in Rock Creek, Ohio for inpatient substance abuse disorder treatment. He was admitted
to Glenbeigh on July 16, 2017. A copy of a letter from S.A.R.P.H. dated March 14, 2018 is
attached hereto. As the letter indicates, defendant self-reported to the Pennsylvania Bureau of
Professional and Occupational Affairs and Professional Health Monitoring Program (PHMP).
He was enrolled into the program and entered into a Voluntary Recovery Program Consent
Agreement on November 28, 2017, which requires that he be monitored until, at least, November
28, 2020. He notified his employer at that time and was placed on a medical leave of absence.
He remained in treatment and was discharged to intensive outpatient on August 14, 2017. His
monitoring agreement provides for random urine samples, counseling and participation with
Narcotics Anonymous, along with other conditions. A copy of his agreement is attached as
Exhibit A. The defendant has remained drug-free since his admission into the program and has
been a model participant. A copy ofa letter from S.A.R.P.H. dated September 18, 2019 is
attached as Exhibit B.

In 2018, Mr. Franks enrolled in Edinboro University to earn his masters degree in
rehabilitation, clinical and mental health counselling. He, unfortunately, was asked to withdraw
from the program when he entered his guilty plea. His hope and expectation is that he will be
able to return to Edinboro University once the charges have been finally resolved. He recently

obtained a position working at a Java Manga’s Outpost in Waterford.
Case 1:19-cr-00013-SPB Document 20 Filed 09/27/19 Page 3 of 4

Mr. Franks enjoys an excellent reputation in the community. Character reference letters
are attached hereto and marked as Exhibit C.

Mr. Franks’ life changed dramatically on July 14, 2017. He was using medication which
he obtained from his employment in increasingly large quantities. His addiction was, literally,
close to taking his life. His self-reporting and the subsequent investigation likely saved his life.
His recovery efforts, by all accounts, have been exemplary.

It is estimated that 10-15% of all healthcare professionals will misuse drugs or alcohol at
some time during their careers. Impaired Healthcare Professional, Critical Care Medicine,
February, 2007. Most diversion cases, such as this, are handled in state court. They are usually
resolved through pretrial diversion programs.

The defendant is an ideal candidate for probation. He has no prior criminal record. He
diverted medication from the Soldiers and Sailors Home for his own use. He became
increasingly addicted to the medication. He did not give, sell, or in any way transfer medication
to others. All of the diverted medications were used to feed his addiction. He reached rock
bottom and sought help through S.A.R.P.H. He has done remarkably well.

The defendant’s sentencing guidelines permit a probationary sentence. He is nota risk to
the community. In fact, he is a huge asset. He is truly a remarkable individual. He is a good
husband, a great father, and a productive member of the community. He surrendered his
pharmacy license, recognizing that he cannot work with controlled substances. His hope and
expectation is that he will receive his masters degree and will become a clinical and mental
health counselor.

Based upon the above, the defendant would respectfully request that the Court sentence

him to a probationary sentence together with community service.
Case 1:19-cr-00013-SPB Document 20 Filed 09/27/19 Page 4 of 4

Respectfully Submitted,

CONNER RILEY FRIEDMAN & WEICHLER

By__/s/Philip B. Friedman, Esq.
Attorney for Defendant
I.D. No. 27554
17 West 10" Street
Erie, PA 16501
(814) 453-3343
